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11
12                             UNITED STATES DISTRICT COURT

13                         CENTRAL DISTRICT OF CALIFORNIA

14                                  WESTERN DIVISION

15   HOLLYWOOD INNOVATIONS                      Case No. 2:21-cv-9423
     GROUP, LLC, a California corporation,
16                Plaintiff,
                                                COMPLAINT FOR COPYRIGHT
17      v.                                      INFRINGEMENT
18                                              (17 U.S.C. § 501)
     NETFLIX, INC., a Delaware
19   corporation; ZIP CINEMA CO., LTD., a       DEMAND FOR JURY TRIAL
     South Korea corporation; KAKAO
20   ENTERTAINMENT CORP., a South
     Korea Corporation; PERSPECTIVE
21   PICTURES CO., LTD.,a South Korea
     corporation; and DOES 1-10, inclusive,
22                Defendants.
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 1          Plaintiff Hollywood Innovations Group, LLC (“Plaintiff or “HIG”) complains
 2   against Netflix, Inc. (“Netflix”), Zip Cinema Co., Ltd. (“Zip Cinema”), Kakao
 3   Entertainment Corp (“Kakao”), Perspective Pictures Co., Ltd. (“Perspective
 4   Pictures”), and DOES 1 through 10 (collectively, “Defendants”), as follows:
 5                                     INTRODUCTION
 6         1.       Once upon a time, Netflix was the innovative upstart, playing the role
 7   of “David” to Blockbuster Video’s “Goliath.” Netflix ultimately won that battle and,
 8   in the process, became a dominant force in video entertainment content production
 9   and distribution. Unfortunately, however, in its desperate quest to remain on top,
10   Netflix has combined its power and innovation with unscrupulous business
11   practices. This lawsuit, like other recent civil actions against the company, concerns
12   these illicit activities.
13         2.       Netflix identified the South Korean market as its next cash cow. But in
14   its effort to grab valuable market share, it had to return to its innovative roots.
15   Regrettably, it innovated in the most nefarious way – by weaponizing breakthroughs
16   in language dubbing technology to steal content, repackage it as its own, and release
17   the content to a massive global audience, thereby reaping tens of millions of dollars
18   in ill-gotten profits along the way.
19         3.       Plaintiff, Hollywood Innovation Group (HIG), was the victim of this
20   carefully orchestrated campaign by Netflix and its partners to usurp HIG’s valuable
21   intellectual property rights for their unlawful commercial exploitation. Specifically,
22   and among other things, HIG owns the exclusive rights to produce and market all
23   versions, save Korean language, of a prescient original screenplay, Devour, written
24   before the COVID-19 outbreak about one young man’s struggle for survival during
25   a global viral pandemic. In 2020, during the height of the COVID-19 crisis, a
26   Korean-language motion picture, #Saraidta, based on the Devour screenplay
27   became a blockbuster hit in South Korea. HIG was preparing to release an English
28   language motion picture, Alone, that was based on the Devour screenplay, and
                                                2
                                            COMPLAINT
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 1   which featured A-list Hollywood talent and a renowned director. But Netflix, along
 2   with Korean producers, Zip Cinema and Perspective Pictures, beat HIG to the
 3   marketplace with an unauthorized and unlawful direct competitor to HIG’s movie.
 4   Specifically, they used new language dubbing technologies to quickly and cheaply
 5   undermine HIG’s rights by releasing, under the name #Alive, multiple dubbed
 6   versions (in numerous non-Korean languages, including English) of the original
 7   Korean title (#Saraitda) on Netflix. So, while Netflix and its partners profiteered
 8   handsomely from an illicit global streaming smash hit, HIG was left holding a
 9   worthless property.
10         4.      Netflix has known for over a year that it did not own the rights to
11   produce the content in question. It knew or was reckless in not knowing that it had
12   no rights to distribute Saraitda dubbed into English or any other non-Korean
13   language and that such new versions of Saraitda constituted unlawful derivative
14   works. It knew or should have known it was breaking the law, committing flagrant
15   copyright infringement. But that did not matter, apparently. Profits, market share
16   and subscriber growth were deemed more important, leaving HIG with no choice
17   but to litigate this matter.
18
                                    JURISDICTION AND VENUE
19
            5.     This is a civil action against Defendants for acts of copyright
20
     infringement under the Copyright Act, 17 U.S.C. §§ 101 et seq. This Court has
21
     subject matter jurisdiction under 28 U.S.C. § 1331, 17 U.S.C. § 501(a), and 28
22
     U.S.C. § 1338(a) and (b).
23
            6.     Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b)
24
     and (c) and 28 U.S.C. § 1400(a) in that the claim arises in this judicial district and
25
     the injury suffered by Plaintiff took place in this judicial district. Defendants are
26
     subject to the general and specific personal jurisdiction of this Court because of
27
     their systematic contacts with, and purposeful availment of, the State of California.
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 1   Specifically, and among other things, Netflix is headquartered in Los Gatos,
 2   California and has a primary office in Los Angeles, California. Zip Cinema and
 3   Perspective Pictures, as alleged below, repeatedly reached out to Plaintiff in this
 4   forum seeking information about Plaintiff’s movie production to further the
 5   infringement alleged herein. And on information and belief, Zip Cinema and
 6   Perspective Pictures regularly contract and do business in the State of California,
 7   including with corporations headquartered in the state. Each of the following Zip
 8   Cinema productions is distributed by Netflix, which is headquartered in Los Gatos,
 9   California: Crazy Romance (2019), Golden Slumber (2018), Default (2018), The
10   Priests (2015), Cold Eyes (2013), All About My Wife (2012), and Haunters (2010).
11   Moreover, certain of these films, such as All About My Wife, were released in
12   theatres throughout North America, including Los Angeles. The Perspective
13   Pictures productions Night Moves (2013) and Martha Marcy May Marlene (2011)
14   were distributed by Fox Searchlight Pictures and Cinedigm, respectively, both of
15   which are headquartered in Los Angeles, California. Furthermore, Perspective
16   Pictures is, in its own words, “based in Los Angeles.” 1
17
                                             PARTIES
18
              7.    Plaintiff Hollywood Innovations Group, LLC (“HIG”) is a limited
19
     liability corporation existing under the laws of California, with its principal place of
20
     business in Los Angeles, California. HIG is a multi-service entertainment company,
21
     providing film production services domestically and abroad.
22
              8.    Defendant Netflix, Inc. (“Netflix”) is a corporation existing under the
23
     laws of Delaware, with its principal place of business in Los Gatos, California.
24
     Netflix is an American subscription-based streaming service offering a vast library
25
     of films and television programs for streaming to millions of subscribers across the
26
     world.
27
28   1
         See, e.g., https://www.perspective-us.com/company.
                                                 4
                                             COMPLAINT
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 1         9.     On information and belief, Defendant Zip Cinema Co., Ltd. (“Zip
 2   Cinema”) is a corporation existing under the laws of South Korea, with its principal
 3   place of business in Seoul, South Korea. Zip Cinema is a leading Korean film
 4   production company, known for several popular titles in Korean cinema.
 5         10.    On information and belief, in a transaction announced in September
 6   2021 and concluded thereafter, Zip Cinema was acquired by Defendant Kakao
 7   Entertainment Corp. (“Kakao”), a corporation existing under the laws of South
 8   Korea with its principal place of business in Seongnam, South Korea. Also on
 9   information and belief, as a result of the transaction, Kakao has succeeded to or
10   otherwise become responsible for the liabilities of Zip Cinema and is thus
11   responsible for Zip Cinema’s acts of copyright infringement alleged herein.
12         11.    On information and belief, Defendant Perspective Pictures Co., Ltd.
13   (“Perspective Pictures”) is a corporation existing under the laws of South Korea
14   with offices in Los Angeles, California. Perspective Pictures is a film and television
15   production company with several popular independent film titles under its name.
16         12.    DOES 1 through 10, inclusive, are unknown to Plaintiff, who therefore
17   sues said Defendants by such fictitious names. Plaintiff will ask leave of Court to
18   amend this Complaint and insert the true names and capacities of said Defendants,
19   individual or corporate, when the same have been ascertained in discovery. Plaintiff
20   is informed and believes and, upon such, alleges that each of the Defendants
21   designated herein as a “DOE” is legally responsible in some manner for the events
22   and happenings herein alleged, and that Plaintiff’s damages as alleged herein were
23   proximately caused by such Defendants.
24
                                 STATEMENT OF FACTS
25
          Plaintiff’s Copyright in the Script and Development of the Movie Alone
26
           13.    Matt Naylor (“Naylor”) is the author of an original screenplay entitled
27
     Devour, also known as Alone (the “Script”). Written before the COVID-19
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 1   pandemic, ironically, the Script details a young man’s struggle for survival and the
 2   resulting mayhem as he is forced to self-isolate in his urban apartment during the
 3   outbreak of a global viral pandemic. The Script was timely registered with the
 4   United States Copyright Office on June 3, 2019, under registration number
 5   TX0008796763.
 6         14.    Naylor was the sole and exclusive owner throughout the world of all
 7   rights, including copyrights, in and to the Script until July 18, 2018.
 8         15.    On July 18, 2018, Naylor entered into a license agreement with Zip
 9   Cinema and Perspective Pictures (the “Korean Producers”), granting them the
10   carefully circumscribed right to produce just a “single, feature-length motion picture
11   in the Korean language . . . based on the Original Script,” (the “Korean Picture”),
12   and the concomitant right to “exploit, exhibit, and distribute” said Korean language
13   film (hereinafter the “Zip/Perspective License Agreement”). As such, all other
14   rights to the Original Script remained with Naylor and, notably, the Zip/Perspective
15   License Agreement did not convey any derivative rights to the Original Script to the
16   Korean Producers. Moreover, to make matters even clearer, the parties expressly
17   agreed and acknowledged that, among other things, Naylor specifically reserved the
18   right to produce and distribute throughout the world an English language version of
19   a movie based on the Script. Id.
20         16.    Then, on April 1, 2019, Naylor entered into an agreement with Rabih
21   Aridi (“Aridi”), granting and assigning Aridi all copyright interests and “all rights of
22   every kind” in and to the Script (hereinafter the “Literary Purchase Agreement”).
23   The only rights not conferred to Aridi were those limited rights expressly granted
24   under the Zip/Perspective License Agreement (i.e., the right to produce one Korean-
25   language-only movie based on the Script), and live stage and publishing rights, the
26   latter of which Naylor reserved for himself. Id. ¶¶1,2. Each of the granted rights
27   was freely assignable. Id. ¶ 12.
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 1          17.    On May 1, 2019, Aridi entered into an assignment agreement with
 2   Devour LLC, assigning to Devour LLC “all of [his] right, title and interest in and to
 3   the Literary Purchase Agreement.”
 4          18.    On August 20, 2019, Devour LLC in turn granted to HIG, pursuant to
 5   an assignment agreement, “all right, title, and interest in and to” an English language
 6   movie based on the Script together with “all now or hereafter existing rights of
 7   every kind and character whatsoever therein, . . . including all . . . scripts. . . as well
 8   as all copies of any and all manuscripts thereof . . . and all versions and translations
 9   thereof.”
10          19.    As the owner of all rights to make the English language film based on
11   the Script (and all derivative non-Korean language versions and other derivatives,
12   also), and all derivative rights to the Script (including even derivative rights to any
13   subsequent Korean versions, given the very limited grant of rights in the
14   Zip/Perspective License Agreement grant), HIG undertook the production of an
15   English language version film based upon the Script.
16          20.    After exhaustive efforts, HIG was thrilled to secure the legendary
17   Donald Sutherland and prominent young actor Tyler Posey in the two lead roles in
18   the motion picture, to be named Alone. HIG also attached successful Hollywood
19   auteur Johnny Martin to direct the film. This was something of a passion project for
20   HIG and its team – an opportunity to realize a longtime dream of producing a
21   commercially significant movie. Accordingly, it poured countless hours and
22   significant financial resources into the production. With a poignant script, gripping
23   story and A-list talent, HIG had every reason to believe that Alone would enjoy
24   great box office success, a view that would only be further bolstered by the
25   resonance of the work after the outbreak of the global COVID pandemic in early
26   2020. HIG began production of Alone in 2019 and had plans for an official release
27   in October 2020.
28
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 1         21.    Besides a standard box office release, HIG had its own streaming plans
 2   in place and had intended to strike a deal with Netflix, which had done prior deals
 3   with Johnny Martin and HIG principals. HIG had every reason to be optimistic
 4   about Alone’s prospects, as the film featured a star-studded cast and significant,
 5   positive support from potential distributors, all owing largely to the fortuitous timing
 6   of the film’s subject matter given the COVID pandemic and the related lockdowns
 7   that had struck the world in early 2020.
 8
          Defendants’ Infringing Activities and the Resulting Damage to Plaintiff
 9
           22.    While HIG was producing its English language version of the film in
10
     the United States, Zip Cinema and Perspective Pictures produced in South Korea
11
     their Korean language film, named #Saraitda (later named #Alive on Netflix), based
12
     on the Script. Released in South Korea in June 2020, at the height of the COVID-19
13
     pandemic, #Saraitda was a major box office success in the country, enjoying the
14
     highest first-day viewership of any film since the start of the pandemic, dominating
15
     62% of the box office, surpassing two million people in theatrical admissions and
16
     grossing nearly $15 million in theatrical revenues despite the global downturn in
17
     box office revenues as audiences avoided indoor public venues that put them at risk
18
     for COVID.
19
           23.    Following #Saraitda’s theatrical success in Korea, Naylor—now
20
     purportedly acting on behalf of the Korean Producers—contacted HIG to discuss the
21
     potential acquisition of sequel and other derivative rights by Zip Cinema and
22
     Perspective Pictures. To facilitate discussions, the Korean Producers again made
23
     clear, and verified, that the right to produce an English language version of the film
24
     would remain excluded from any future agreement, just as it had been with the prior
25
     agreement they had with Naylor. The foregoing correspondence dispels any doubt
26
     that the Korean Producers clearly understood that their rights under the
27
     Zip/Perspective License Agreement excluded the right to produce or distribute an
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 1   English language version of a film based on the Script (let alone more derivative
 2   versions in Korean, whether movie sequels or episodic series), thereby rendering
 3   their conduct particularly egregious and willful.
 4         24.    During HIG’s production of Alone in 2019-20, the Korean Producers,
 5   who were in the midst of making their Korean language film under their limited
 6   grant of rights, repeatedly emailed and called the director and producers of Alone in
 7   California to ascertain various details about the American production, including its
 8   timeline. The calls seemed curious and irrelevant at the time since each entity was
 9   making a film in entirely different markets (Korean language for the Korean
10   Producers and English/all other languages for HIG). However, the subterfuge at
11   play is now clear: the Korean Producers had duplicitously intended to race to
12   complete their Korean film and then unlawfully dub it into English and other
13   languages to reach a more lucrative market and maximize their profits. And, to take
14   full advantage of this tantalizingly rewarding, albeit thoroughly illicit, opportunity,
15   the Korean Producers would need to get their dubbed and subtitled version of #Alive
16   to market prior to the completion of HIG’s movie production and its release of
17   Alone in domestic and foreign cinemas and on streaming services.
18         25.    With the global outbreak of the COVID pandemic, the economic
19   incentive for the Korean Producers’ malfeasance increased dramatically. HIG and
20   the Korean Producers sat on motion pictures that had a remarkable and unique
21   resonance with what people around the globe were experiencing in their real lives.
22   Audiences were hungry for content that spoke to the struggles they were facing
23   during the COVID lockdown. But the rights that the Korean Producers had secured
24   (again, for just a single Korean-language-only film based on Naylor’s Script)
25   reached only a small fraction of the audience compared to the rights that HIG had
26   secured (for, among other things, the English language film based on the Script, any
27   non-Korean language movies based on the Script, and all derivative rights to the
28
                                               9
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  1   Script, including but not limited to derivative rights to any Korean-language sequel
  2   movies).
  3         26.    Putting the lure of profits over the law and using information they had
  4   obtained about the Alone production under false pretenses, the Korean Producers
  5   carefully timed their dubbed and subtitled version of #Alive to hit the international
  6   streaming marketplace, through Netflix, in advance of the release of Alone, thereby
  7   reaping tens of millions of dollars in ill-gotten gains and utterly annihilating the
  8   marketplace for Alone in the process.
  9         27.    Among other things, Zip Cinema’s and Perspective Pictures’
 10   intentional and directed contacts were made into this forum in an attempt to glean as
 11   much information as possible to aid them in their race to unlawfully beat HIG to the
 12   lucrative English language and streaming markets with their infringing work,
 13   thereby underscoring the wanton and willful nature of their illicit activities.
 14         28.    Recognizing #Saraitda’s potential for success in other markets, Netflix
 15   ostensibly acquired international distribution rights in the Korean language film
 16   pursuant to a license agreement with an entity named Lotte Entertainment, which
 17   had acquired whatever rights the Korean Producers possessed and was working in
 18   concert and privity with said Korean Producers.
 19         29.    Indeed, Netflix has made a major push in recent years to release foreign
 20   films dubbed into English by taking advantage of modern dubbing techniques and
 21   technologies that Netflix itself recognizes are an “art” form. These new techniques
 22   enable foreign films to reach wide English-speaking audiences who would, in prior
 23   decades, largely eschew foreign movies due to the undesirability of reading subtitles
 24   and the poor quality of dubbing that made such movies difficult to watch in the past.
 25   As a result of the availability of these new dubbing practices, Netflix has taken
 26   foreign movies which would have previously only enjoyed niche art-house
 27   audiences and, by creating derivative versions of these works dubbed in the local
 28   languages of numerous markets, made them widely accessible to a global audience.
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  1   For example, the English language version of the Korean series Squid Game, which
  2   is dubbed in English (among other languages) on Netflix, has become a viral
  3   sensation and quickly skyrocketed to the top of Netflix’s all-time most-watched
  4   titles—a list that also includes the English language version of the Spanish show
  5   Money Heist and the English language version of the French show Lupin, each of
  6   which have benefited from the creative dubbing improvements of the past few years.
  7         30.    Netflix’s business model has relied heavily on Korean content due to its
  8   profitability, given South Korea’s unique position as a cultural hub of and barometer
  9   for success in the broader Asian marketplace. As a result, Netflix has invested
 10   heavily in South Korean content (to the tune of $500 million this year alone). As
 11   Ted Sarandos, Netflix’s co-Chief Executive Officer and Chief Content Officer, has
 12   noted, "Over the last two years, we’ve seen the world falling in love with the
 13   incredible Korean content.” 2 Thus, the lure of profits and increasing its profile as
 14   the leading outlet for Korean content motivated Netflix’s eager willingness to
 15   weaponize new dubbing technologies to exploit content from South Korea in the
 16   absence of appropriate licenses, even when put on specific legal notice thereof by
 17   HIG’s counsel.
 18         31.    While Sarandos has trumpeted the tagline, “Made in Korea and
 19   watched by the world on Netflix,” 3 the facts of this case suggest a more appropriate
 20   epigram: “Made in Korea and infringed for the world on Netflix.”
 21         32.    On September 8, 2020, after it had already been previously released in
 22   South Korea by the Korean Producers, Netflix released #Saraitda as #Alive on its
 23   streaming platform. Drawing on Netflix’s dubbing prowess, Netflix and the Korean
 24   Producers created a high-quality dubbed and subtitled version of #Alive in English,
 25
 26   2
        Lucas Shaw & Ziaoying Zhao, Netflix Plans $500 Million Spending in Korea to Crack
 27   Asia, BLOOMBERG | QUINT (Feb. 24, 2021),
      https://www.bloombergquint.com/onweb/netflix-plans-500-million-korea-budget-this-
 28   year-to-crack-asia.
      3
        Id.
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  1   as well as high-quality dubbed and subtitled versions in an additional 30 languages
  2   for release on Netflix’s streaming platform during the COVID-19 pandemic.
  3          33.    #Alive was an instant international sensation and massive hit for
  4   Netflix. Two days after its release, the film achieved a first place ranking on the
  5   global platform. 4 By December 2020, #Alive was on the top ten list in some 90
  6   different countries, including the United States, making it one of the most popular
  7   titles globally on Netflix that year and, in fact, ever. 5
  8          34.    Johnny Martin and HIG were shocked at the release of #Alive. Martin,
  9   who had known Matt Naylor for many years, immediately called Naylor, who had
 10   been interfacing with the Korean Producers, to discuss this illicit English release of
 11   the film based upon the Script and attempt to resolve the situation before being
 12   forced to involve legal counsel. Naylor did not answer and ignored Martin’s
 13   voicemail.
 14          35.    Predictably, Netflix’s release of #Alive devastated the market for Alone
 15   and its October 2020 release. By the time Alone premiered, audiences around the
 16   world had already streamed #Alive – with its virtually identical plotline – in English
 17   (and 30 other non-Korean languages), rendering Alone commercially unviable with
 18   a massive lost opportunity to monetize the value of the now-produced film. This is
 19   to say nothing of the years of passion, work, and resources HIG had poured into the
 20   project, which were now all for naught.
 21          36.    Adding insult to injury, critics and audiences alike have incorrectly
 22   derided Alone as knock-off of #Alive. All told, the illicit release of #Alive in English
 23   thoroughly undermined the ability of HIG to secure attention and support for its
 24   film, costing HIG millions of dollars in damages for its own English-language film
 25   at a peak moment in terms of its resonance with audiences worldwide during the
 26   4
        Kwak Yeon-soo, Zombie Thriller “#Alive” Becomes Netflix’s Most Popular Film,
 27   KOREA TIMES (Sept. 11, 2020),
      https://www.koreatimes.co.kr/www/art/2020/09/689_295880.html.
      5
 28     The Stories That Helped Us Escape At Home, NETFLIX (Dec. 10, 2020),
      https://about.netflix.com/en/news/what-we-watched-2020-on-netflix
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  1   COVID pandemic. In addition, Defendants’ actions have also squelched the
  2   possibility of a sequel to Alone, on which HIG had actively been working. Indeed,
  3   HIG had already prepared parts of a sequel script, including the ending, and it had
  4   engaged in preliminary discussions with Lionsgate regarding the sequel’s
  5   production and distribution.
  6         37.    Moreover, due to Netflix’s release of new versions of #Alive in other
  7   non-Korean languages (e.g., French, Spanish, German, Russian, etc.), HIG was
  8   deprived of its contracted-for ability to create additional derivative works by
  9   dubbing and releasing Alone into other languages and, as such, lost significant
 10   foreign business opportunities to release Alone worldwide in non-English languages
 11   (other than Korean) as the actions of Defendants desiccated those markets.
 12         38.    On September 18, 2020, counsel for HIG sent a letter to Netflix
 13   demanding the immediate takedown of the film’s dubbed versions from its
 14   streaming platform. Netflix refused and continued streaming and marketing #Alive.
 15         39.    On September 21, 2020, counsel for HIG also sent Zip Cinema a letter
 16   demanding that it immediately instruct Netflix to remove #Alive from its streaming
 17   platform and permanently cease and desist all unauthorized dubbing and subtitling
 18   of the film and distribution of such translations. Zip Cinema was also notified that
 19   Alone would be premiering domestically in early October 2020, making it
 20   imperative that Defendants immediately halt their infringing activities. Zip Cinema
 21   ignored these requests.
 22         40.    As sophisticated and established global players in the motion picture
 23   industry, Defendants are deeply steeped in the world of intellectual property, have
 24   full knowledge of the strictures of intellectual property law, vigorously enforce their
 25   own intellectual property rights, and understand the basic requirements for licensing
 26   the use of copyrighted content for commercial exploitation. Yet, notably, in
 27   response to the above-mentioned demand letters, neither Netflix nor Zip Cinema
 28   offered any other agreement predating the Literary Purchase Agreement that would
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                                           COMPLAINT
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  1   justify any claim to superior rights or provided any viable factual or legal basis upon
  2   which to justify their conduct, thereby further establishing the brazen nature of
  3   Defendants’ infringing conduct, which continues unabated to this day.
  4         41.    The wanton and willful infringing acts of Defendants have translated
  5   into substantial ill-gotten commercial advantage. Netflix has generated considerable
  6   profits and value from its unlawful distribution of the derivative versions of the
  7   Korean Picture in English and other languages. On information and belief, based on
  8   publicly disclosed viewership figures for comparable Netflix releases, #Alive likely
  9   received between 40 and 60 million views, translating to tens of millions of dollars
 10   of value for Netflix alone. Furthermore, to the extent that Netflix’s release of #Alive
 11   and its dubbed versions translated into new subscribers for the company, HIG is
 12   entitled to that portion of Netflix’s monthly subscriber revenue generated by
 13   Defendants’ conduct.
 14         42.    The exact number of views #Alive received on Netflix, both organic
 15   and as generated by social media links to drive traffic, and the potential subscriber-
 16   base value Netflix secured due to the film are unknown to Plaintiff but are known to
 17   Netflix and will be the subject of discovery.
 18         43.    Defendants’ infringement continues to date, as #Alive remains available
 19   for streaming by audiences across the world on Netflix. To make matters even
 20   worse, Korean Producers are planning a forthcoming television series based on
 21   #Alive and, upon information and belief, Netflix is also involved in the unlawful
 22   project.
 23                              FIRST CLAIM FOR RELIEF
 24          (Copyright Infringement, 17 U.S.C. § 501, against all Defendants)
 25         44.    Plaintiff incorporates herein by reference the allegations in paragraphs
 26   1 through 43 above.
 27         45.    Plaintiff is the rightsholder to the relevant copyrights in and to the
 28   Script and Film, which substantially consist of wholly original material that
                                               14
                                            COMPLAINT
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  1   constitutes copyrightable subject matter under the laws of the United States.
  2   Plaintiff has complied in all respects with the Copyright Act and all the laws of the
  3   United States governing copyrights, and the Script and Film were both timely
  4   registered with the U.S. Copyright Office (the Film Alone under Registration
  5   Certificate Number PA0002248290, and the Script Devour as alleged above under
  6   Registration Number TX0008796763).
  7          46.    Defendants have directly, contributorily and/or vicariously infringed,
  8   and, unless enjoined, will continue to infringe Plaintiff’s copyrights in the Script and
  9   Film by preparing, reproducing, publicly displaying and exhibiting, and distributing
 10   derivative works in myriad languages based on the Script for purposes of trade in
 11   violation of 17 U.S.C. § 501 et seq.
 12          47.    Defendants have also knowingly induced, caused, or materially
 13   contributed to the infringing conduct of third parties and/or have obtained a direct
 14   financial benefit therefrom while possessing the right and ability to control the
 15   infringing conduct of third parties.
 16          48.    Defendants’ actions are and have been willful and in wanton disregard
 17   of Plaintiff’s rights.
 18          49.    Defendants have received substantial benefits in connection with the
 19   unauthorized preparation, reproduction, public display and exhibition, and
 20   distribution of unauthorized derivative works in myriad languages based on the
 21   Script for purposes of trade.
 22          50.    The actions of Defendants were, and are continuing to be, performed
 23   without the permission, license, or consent of Plaintiff.
 24          51.    The wrongful acts of Defendants have caused, and are causing, great
 25   injury to Plaintiff, including but not limited to substantial damages to its business in
 26   the form of diversion of trade, loss of profits, injury to goodwill and reputation, and
 27   the dilution of the value of its rights, all of which are not yet fully ascertainable.
 28   Netflix’s global distribution of #Alive deprived Plaintiff of the profit it expected to
                                                15
                                             COMPLAINT
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  1   earn globally from its release of Alone. Given the tens of millions of dollars
  2   generated by #Alive at just the Korean box office and the fact that Alone, unlike
  3   #Alive, featured acclaimed actors, such as Donald Sutherland, but-for Defendants’
  4   infringing acts, Alone would have undoubtedly generated far more in profits due to
  5   the staggering differences in size between the South Korea and United States film
  6   markets. Furthermore, Netflix has earned tens of millions of dollars in profits from
  7   its unlawful reproduction, public display, exhibition, and distribution of #Alive in its
  8   dubbed and subtitled incarnations.
  9         52.    Defendants’ infringing acts continue to date unabated despite notice
 10   and, unless this Court restrains Defendants from further commission of said acts,
 11   Plaintiff will suffer irreparable injury, for all of which it is without an adequate
 12   remedy at law. Accordingly, Plaintiff seeks a declaration that Defendants are
 13   infringing its copyrights and an order under 17 U.S.C. § 502 enjoining Defendants
 14   from any further infringement of its copyrights.
 15         53.    Plaintiff is entitled to injunctive relief, actual and statutory damages in
 16   an amount to be proven at trial for the infringement detailed above. Plaintiff is also
 17   entitled to its attorneys’ fees in prosecuting this action under 17 U.S.C. § 505.
 18
                                     PRAYER FOR RELIEF
 19
           WHEREFORE, Plaintiff requests judgment against Defendants as follows:
 20
           1.      For an order permanently enjoining Defendants, its officers, agents,
 21
      servants, employees, representatives, and attorneys, and all persons in active concert
 22
      or participation with them, be permanently enjoined from copying, reproducing,
 23
      exhibiting, displaying, promoting, advertising, distributing, or selling, or any other
 24
      form of dealing or transaction in or exploitation of, any and all dubbed or subtitled
 25
      versions of #Alive, as well as any and all other unauthorized derivative works,
 26
      including, but not limited to, further dubbing, episodic series, sequels of any kind, or
 27
 28
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                                            COMPLAINT
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  1   other works in other formats, based on the Script, which directly, contributorily
  2   and/or vicariously infringe Plaintiff’s rights in the Script and Film.
  3        2.      For actual damages due to Defendants’ acts of copyright infringement
  4   and to make Plaintiff whole for all damages and losses suffered by Plaintiff by
  5   reason of Defendants’ acts, pursuant to 17 U.S.C. § 504 (a)(1) & (b).
  6        3.      For an accounting and payment to Plaintiff of all profits, income,
  7   receipts, or other benefit derived by Defendants from the reproduction, copying,
  8   display and exhibition, promotion, distribution or sale of products and services, or
  9   other media, either now known or hereafter devised, that improperly or unlawfully
 10   infringe upon Plaintiff’s copyrights pursuant to 17 U.S.C. §§ 504 (a)(1) & (b).
 11        4.      For statutory damages under 17 U.S.C. § 504(a)(2), (c).
 12        5.      For costs, attorneys’ fees, and interest under 17 U.S.C. § 505.
 13        6.      For any such other and further relief as the Court may deem appropriate
 14   and just.
 15
 16   Dated: December 6, 2021
 17
 18                                           By: /s/ Peter R. Afrasiabi
 19                                               Peter R. Afrasiabi, Esq.
                                                  John Tehranian, Esq.
 20                                               ONE LLP
 21
                                                   Maximillian Amster
 22                                                Samuel J Salario Jr., Esq.
 23                                                BAY ADVOCACY PLLC

 24                                                Attorneys for Plaintiff,
 25                                                Hollywood Innovations Group, LLC

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                                            COMPLAINT
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  1                              DEMAND FOR JURY TRIAL
            Plaintiff Hollywood Innovations Group, LLC, hereby demands trial by jury of
  2
      all issues so triable under the law.
  3
  4
      Dated: December 6, 2021
  5
  6
                                              By: /s/ Peter R. Afrasiabi
  7
                                                  Peter R. Afrasiabi, Esq.
  8                                               John Tehranian, Esq.
  9                                               ONE LLP

 10                                               Maximillian Amster
 11                                               Samuel J Salario Jr., Esq.
                                                  BAY ADVOCACY PLLC
 12
 13                                               Attorneys for Plaintiff,
                                                  Hollywood Innovations Group, LLC
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